AO 2458 (Rev. 12/03)(VAED rev. 2) Shee! l - Judgment in a Crimina| Case

 

 

 

 

 

 

 

 

 

UNITED STATES DISTRICT COI “T F|LED
Eastern District of Virginia
N f lk D' ' '
OI` O lVlSlOn APR _ 7 2010
UNITED STATES OF AMERICA v
v. Case Number: 2 :OMWSB§- T£'$l Coum
KIMBERLY D. JOHNSON
Defendant's Attorney:
Defendant. P. Todd Sartwell

JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Count l.
Accordingly, the defendant is adjudged guilty of the following count involving the indicated offense.

Offcnse Offense
Title and Section Nature of Offense Class Ended Count
18 USC 641 Theh of government property Misdemeanor 9/26/09 l

As pronounced on April 5, 2010, the defendant is sentenced as provided in pages-2 through 4 of this
Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by
this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States

Attorney of material changes in economic circumstances.
F. Bradford §§llman v

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Signed this § day oprri|, 2010,
United States Magistrate Judge

 

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Sheet 4 - Probaiion

 

Case Number: 2:09mj00532-00l
Defendant's Name: KlMBERLY D. JOHNSON

PROBATION

The defendant is hereby placed on probation for a term of ONE YEAR .

The Probation Oftice shall provide the defendant with a copy of the standard conditions and any special conditions
of probation.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
use of a controlled substance.

lf this judgment imposes a fine or restitution obligation , it is a condition of probation that the defendant pay
any such fine or restitution in accordance with the Schedule of Payments set forth in the Crimina| Monetary Penalties
sheet of this judgment

STANDARD CONDITIONS OF PROBATION

The defendant shall comply with the standard conditions that have been adopted by this court set forth below:

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the
first five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
probation officer;

4) the defendant shall support his or her dependants and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
training, or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer
any narcotic or other controlled substance or any paraphernalia related to such substances, except as prescribed by a
physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
convicted of a felony, unless granted permission to do so by the probation oft`icer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit

confiscation of any contraband observed in plain view of the probation officer;

ll) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law

enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer for a special agent of a law enforcement

agency without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the

defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement.

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Shect 4A - Probation

Case Number: 2:09mj00532-00|
Defendant's Name: KIMBERLY D. JOHNSON

SPECIAL CONDITIONS OF PROBATION

While on probation, pursuant to this Judgment, the defendant shall also comply with the following additional
conditions:

l) The defendant is directed to serve ONE DAY injail, to be released at 5:00 p.m. on April 5, 2010,

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Shect 5 - Criminal Monetary Penalties

 

Case Number: 2:09mj00532-001
Defendant's Name: KlMBERLY D. JOHNSON

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties.

Count Assessment Fine Restitution
l $25.00 $250.00 $0.00

TOTALS: $25.00 $250.00 80.00

